         Case 3:13-cr-00417-M           Document 69         Filed 06/17/14         Page 1 of 1       PageID 176



UNITED STATES OF AMERICA                                                   l

vs.                                                                                    ASE N0.:3: 13-CR-417-M (02)

LIDAAMIN,
                 Defendant.



          LIDA AMIN, by consent, under authority of United States v. Dees, 125 F.3d 261 (5th Cir. 1997), has appeared
before me pursuant to Fed. R. Crim.P. II, and has entered a plea of guilty to Count(s) I of the Indictment. After
cautioning and examining LIDA AMIN under oath concerning each of the subjects mentioned in Rule II, I determined
that the guilty plea was knowledgeable and voluntary and that the offense(s) charged is supported by an independent
basis in fact containing each of the essential elements of such offense. I therefore recommend that the plea of guilty
be accepted, and that LIDA AMIN be adjudged guilty of Count I of the Indictment, charging a violation of 18 U.S.C.
§ 3 71, that is, Conspiracy to Bribe Public Officials, and have sentence imposed accordingly. After being found guilty
of the offense by the district judge,

0       The defendant is currently in custody and should be ordered to remain in custody.

        The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(l) unless the Court finds by clear and
        convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the
        community if released.

                The Government does not oppose release.
                The defendant has been compliant with the current conditions of release.
                I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any
                other person or the community if released and should therefore be released under § 3142(b) or (c).

        0       The Government opposes release.
        0       The defendant has not been compliant with the conditions of release.
        0       If the Court accepts this recommendation, this matter should be set for hearing upon motion ofthe
                Government.

0       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless (I )(a) the Court finds there
        is a substantial likelihood that a motion for acquittal or new trial will be granted, or (b) the Government has
        recommended that no sentence of imprisonment be impose ,              c) exceptional circumstances are clearly
        shown under § 3145(c) why the defendant should not be (let ·ned, nd (2) the Court finds by clear and
        convincing evidence that the defendant is not likely to ee r pose a anger to any other person or the
        community if released.

        Date:   June 17, 2014.
                                                                         DAVID L. HORAN
                                                                      ITED STATES MAGISTRATE JUDGE

                                                         NOTICE
          Failure to file written objections to this Report and Recommendation within fourteen (14) days from the date
of its service shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United
States District Judge. 28 U.S.C. §636(b)(l)(B).
